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 5 Attorneys for Mr. Reyes

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 8                                    UNITED STATES DISTRICT COURT
 9                                  SOUTHERN DISTRICT OF CALIFORNIA
10                                    (HONORABLE DANA M. SABRAW
11 UNITED STATES OF AMERICA,                      )     Case No. 06CR1023-DMS
                                                  )
12                 Plaintiff,                     )     JOINT MOTION FOR CONTINUANCE OF
                                                  )     HEARING RE: REVOCATION OF
13 v.                                             )     SUPERVISED RELEASE
                                                  )
14 JAVIER ASTORGA REYES,                          )
                                                  )
15                 Defendant.                     )
16

17                 IT IS HEREBY JOINTLY MOVED by the parties that the hearing re: revocation of
18 supervised release currently scheduled for July 10, 2008, at 9:30 a.m., be continued to July 18, 2008, at 9:00

19 a.m., before the Honorable Dana M. Sabraw.

20                                                    Respectfully submitted,
21 DATED: July 7, 2008                                 /s/ JENNIFER L. COON
                                                      Federal Defenders of San Diego, Inc.
22                                                    Attorneys for Defendant Reyes
                                                      jennifer_coon@fd.org
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24 DATED: July 7, 2008                                /s/ CAROLINE HAN
                                                      Assistant United States Attorney
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1                                      CERTIFICATE OF SERVICE
2                Counsel for Defendant certifies that the foregoing pleading is true and accurate to the best
3 information and belief, and that a copy of the foregoing document has been caused to be delivered this day

4 upon:

5                Courtesy Copy Chambers
6                Copy Assistant U.S. Attorney via ECF Notice of Electronic Filing
7                Copy Defendant
8 Dated: July 7, 2008                                    /s/ JENNIFER L. COON
                                                        Federal Defenders of San Diego, Inc.
9                                                       225 Broadway, Suite 900
                                                        San Diego, CA 92101-5030
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